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                           UNITED STATES DISTRICT COURT

                                 DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

       V.

                                                           Case No. 22-mj-22
ILYA LICHTENSTEIN, and
                                                           Chief Judge Beryl A. Howell
HEATHER MORGAN

                              Defendant.




                  MOTION FOR ADMISSION OF ATTORNEY PRO HAC VICE

       Pursuant to Local Criminal Rule 44.1 (c ), Defendants move for the admission and

appearance of attorney Nola B. Heller pro hac vice in the above-entitled action. The motion is

supported by the Declaration of Nola B. Heller, filed herewith. As set forth in the Declaration,

Ms. Heller is admitted and an active member in good standing in the following courts and bars:

New York State, the Southern District of New York, the Eastern District of New York, and the

Second Circuit U.S. Court of Appeals. This motion is supported and signed by Angela F.

Collins, an active and sponsoring member of the Bar this Court.

Dated: February 9, 2022                          Respectfully submitted,



                                                 Angela F. Collins
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